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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CRAIG BOSTON,

                      Plaintiff,
                                                       CIVIL ACTION
            v.                                         NO. 20-1980


PRIMECARE INC., et al.,

                      Defendants.


                                     ORDER

      AND NOW, this 22nd day of March 2022, upon consideration of Plaintiff Craig

Boston’s March 21 correspondence, it is hereby ORDERED that the above-captioned

case is DISMISSED pursuant to Federal Rule of Civil Procedure 41(a)(2).



                                             BY THE COURT:


                                             /s/ Gerald J. Pappert
                                             GERALD J. PAPPERT, J.
